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                             EXHIBIT “2”
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                                  CORPORATE ADVANCE HISTORY RECONCILIATION

Line # Date        Code       Code Description:              Amount           Balance       Open         Closed
      1   1/1/2019            Beg Bal                                               $0.00
      2 6/24/2019         630 Corp Adv Disb                          $150.00      $150.00     $150.00
      3   7/3/2019        631 Corp Adv Disb                           $20.00      $170.00                         $20.00
      4 8/12/2019         630 Corp Adv Disb                          $250.00      $420.00     $250.00
      5 8/12/2019         630 Corp Adv Disb                          $500.00      $920.00     $500.00
      6 9/10/2019         601 Advance Recovery                        $20.00      $940.00                      $20.00
      7 9/10/2019         766 Corp Adv Deposit                       ($20.00)     $920.00                     ($20.00)
      8 10/30/2019        630 Corp Adv Disb                          $500.00    $1,420.00     $500.00
      9 11/12/2019        630 Corp Adv Disb                          $150.00    $1,570.00                     $150.00
     10 12/23/2019        766 Corp Adv Deposit                      ($150.00) $1,420.00                      ($150.00)
     11 12/23/2019        601 Corp Adv Disb                          $150.00    $1,570.00                     $150.00
     12   1/1/2020            Balance Adjustment                    ($170.00) $1,400.00                      ($170.00)
     13   1/7/2020        630 Corp Adv Disb                          $500.00    $1,900.00                     $500.00
     14 1/23/2020         630 Corp Adv Disb                          $150.00    $2,050.00                     $150.00
     15 2/25/2020         630 Corp Adv Disb                          $500.00    $2,550.00                     $500.00
     16 2/25/2020         601 Corp Adv Disb                          $150.00    $2,700.00                     $150.00
     17 2/25/2020         766 Corp Adv Deposit                      ($500.00) $2,200.00                      ($500.00)
     18 2/25/2020         766 Corp Adv Deposit                      ($150.00) $2,050.00                      ($150.00)
     19 2/26/2020         766 Corp Adv Deposit                    ($1,000.00) $1,050.00                    ($1,000.00)
     20 2/26/2020         766 Corp Adv Deposit                      ($300.00)     $750.00                    ($300.00)
     21 2/27/2020         601 Corp Adv Disb                          $500.00    $1,250.00                     $500.00
     22 2/27/2020         601 Corp Adv Disb                          $150.00    $1,400.00                     $150.00
     23 2/27/2020         601 Corp Adv Disb                        $1,000.00    $2,400.00                   $1,000.00
     24 2/27/2020         601 Corp Adv Disb                          $300.00    $2,700.00                     $300.00
     25 2/27/2020         766 Corp Adv Deposit                      ($500.00) $2,200.00                      ($500.00)
     26 2/27/2020         766 Corp Adv Deposit                      ($150.00) $2,050.00                      ($150.00)
     27 7/23/2020         630 Corp Adv Disb                           $50.00    $2,100.00                      $50.00
     28 11/17/2020        630 Corp Adv Disb                          $500.00    $2,600.00                     $500.00
     29 12/14/2020        745 Corp Adv Adjustment                    $350.00    $2,950.00                     $350.00
     30 12/14/2020        745 Corp Adv Adjustment                   ($350.00) $2,600.00                      ($350.00)
     31   1/1/2021            Balance Adjustment                  ($1,550.00) $1,050.00      ($350.00)     ($1,200.00)
     32   8/6/2021        630 Corp Adv Disb                          $125.00    $1,175.00                     $125.00
     33   1/1/2022            Balance Adjustment                    ($125.00) $1,050.00                      ($125.00)
     34 1/21/2022         633 Corp Adv Disb                        $1,777.72    $2,827.72                   $1,777.72
     35   3/1/2022        633 Corp Adv Disb                        $2,635.71    $5,463.43                   $2,635.71
     36   3/2/2022        633 Corp Adv Disb                          $781.55    $6,244.98                     $781.55
     37   4/4/2022        633 Corp Adv Disb                          $997.15    $7,242.13                     $997.15
     38 5/27/2022         633 Corp Adv Disb                        $2,002.14    $9,244.27                   $2,002.14
     39   7/5/2022        633 Corp Adv Disb                        $2,777.81 $12,022.08                     $2,777.81
     40 7/29/2022         633 Corp Adv Disb                        $1,647.87 $13,669.95                     $1,647.87
     41 7/29/2022         633 Corp Adv Disb                          $163.17 $13,833.12                       $163.17
     42   8/3/2022        633 Corp Adv Disb                          $480.69 $14,313.81                       $480.69
     43   8/8/2022        630 Corp Adv Disb                           $50.00 $14,363.81                        $50.00
     44 8/22/2022         633 Corp Adv Disb                        $2,926.28 $17,290.09                     $2,926.28
     45 8/29/2022         601 Corp Adv Disb                           $50.00 $17,340.09                        $50.00
     46 8/29/2022         601 Corp Adv Disb                          $500.00 $17,840.09                       $500.00
     47 8/29/2022         601 Corp Adv Disb                          $350.00 $18,190.09                       $350.00
     48 8/29/2022         601 Corp Adv Disb                          $125.00 $18,315.09                       $125.00
     49 8/29/2022         601 Corp Adv Disb                        $1,777.72 $20,092.81                     $1,777.72



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                                   CORPORATE ADVANCE HISTORY RECONCILIATION

Line # Date        Code       Code Description:             Amount      Balance       Open     Closed
     50 8/29/2022         601 Corp Adv Disb                   $2,635.71 $22,728.52                 $2,635.71
     51 8/29/2022         601 Corp Adv Disb                     $781.55 $23,510.07                   $781.55
     52 8/29/2022         601 Corp Adv Disb                     $997.15 $24,507.22                   $997.15
     53 8/29/2022         601 Corp Adv Disb                   $2,002.14 $26,509.36                 $2,002.14
     54 8/29/2022         601 Corp Adv Disb                   $2,777.81 $29,287.17                 $2,777.81
     55 8/29/2022         601 Corp Adv Disb                   $1,647.87 $30,935.04                 $1,647.87
     56 8/29/2022         601 Corp Adv Disb                     $163.17 $31,098.21                   $163.17
     57 8/29/2022         766 Corp Adv Deposit                  ($50.00) $31,048.21                  ($50.00)
     58 8/29/2022         766 Corp Adv Deposit                 ($500.00) $30,548.21                 ($500.00)
     59 8/29/2022         766 Corp Adv Deposit                 ($350.00) $30,198.21                 ($350.00)
     60 8/29/2022         766 Corp Adv Deposit                 ($125.00) $30,073.21                 ($125.00)
     61 8/29/2022         766 Corp Adv Deposit               ($1,777.72) $28,295.49               ($1,777.72)
     62 8/29/2022         766 Corp Adv Deposit               ($2,635.71) $25,659.78               ($2,635.71)
     63 8/29/2022         766 Corp Adv Deposit                 ($781.55) $24,878.23                 ($781.55)
     64 8/29/2022         766 Corp Adv Deposit                 ($997.15) $23,881.08                 ($997.15)
     65 8/29/2022         766 Corp Adv Deposit               ($2,002.14) $21,878.94               ($2,002.14)
     66 8/29/2022         766 Corp Adv Deposit               ($2,777.81) $19,101.13               ($2,777.81)
     67 8/29/2022         766 Corp Adv Deposit               ($1,647.87) $17,453.26               ($1,647.87)
     68 8/29/2022         766 Corp Adv Deposit                 ($163.17) $17,290.09                 ($163.17)
     69   9/2/2022        633 Corp Adv Disb                     $209.23 $17,499.32                   $209.23
     70   9/8/2022        633 Corp Adv Disb                     $514.50 $18,013.82                   $514.50
     71 9/22/2022         633 Corp Adv Disb                      $96.04 $18,109.86                    $96.04
     72 9/23/2022         601 Corp Adv Disb                     $480.69 $18,590.55                   $480.69
     73 9/23/2022         601 Corp Adv Disb                      $50.00 $18,640.55                    $50.00
     74 9/23/2022         601 Corp Adv Disb                   $2,926.28 $21,566.83                 $2,926.28
     75 9/23/2022         766 Corp Adv Deposit                 ($480.69) $21,086.14                 ($480.69)
     76 9/23/2022         766 Corp Adv Deposit                  ($50.00) $21,036.14                  ($50.00)
     77 9/23/2022         766 Corp Adv Deposit               ($2,926.28) $18,109.86               ($2,926.28)
     78 10/4/2022         633 Corp Adv Disb                   $1,974.50 $20,084.36                 $1,974.50
     79 10/5/2022         633 Corp Adv Disb                     $517.44 $20,601.80                   $517.44
     80 10/27/2022        601 Corp Adv Disb                     $209.23 $20,811.03                   $209.23
     81 10/27/2022        601 Corp Adv Disb                     $514.50 $21,325.53                   $514.50
     82 10/27/2022        601 Corp Adv Disb                      $96.04 $21,421.57                    $96.04
     83 10/27/2022        633 Corp Adv Disb                     $738.92 $22,160.49                   $738.92
     84 10/27/2022        633 Corp Adv Disb                   $2,411.78 $24,572.27                 $2,411.78
     85 10/27/2022        766 Corp Adv Deposit                 ($209.23) $24,363.04                 ($209.23)
     86 10/27/2022        766 Corp Adv Deposit                 ($514.50) $23,848.54                 ($514.50)
     87 10/27/2022        766 Corp Adv Deposit                  ($96.04) $23,752.50                  ($96.04)
     88 11/25/2022        601 Corp Adv Disb                     $517.44 $24,269.94                   $517.44
     89 11/25/2022        601 Corp Adv Disb                     $738.92 $25,008.86                   $738.92
     90 11/25/2022        766 Corp Adv Deposit                 ($517.44) $24,491.42                 ($517.44)
     91 11/25/2022        766 Corp Adv Deposit                 ($738.92) $23,752.50                 ($738.92)
     92 11/29/2022        633 Corp Adv Disb                   $1,458.73 $25,211.23                 $1,458.73
     93 11/29/2022        766 Corp Adv Deposit               ($1,974.50) $23,236.73               ($1,974.50)
     94 11/29/2022        766 Corp Adv Deposit               ($2,411.78) $20,824.95               ($2,411.78)
     95 11/30/2022        601 Corp Adv Disb                   $2,411.78 $23,236.73                 $2,411.78
     96 11/30/2022        601 Corp Adv Disb                   $1,974.50 $25,211.23                 $1,974.50
     97 11/30/2022        633 Corp Adv Disb                   $1,091.72 $26,302.95                 $1,091.72
     98 12/5/2022         633 Corp Adv Disb                     $168.07 $26,471.02                   $168.07



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                                  CORPORATE ADVANCE HISTORY RECONCILIATION

Line # Date        Code       Code Description:              Amount       Balance       Open        Closed
     99 12/27/2022        766 Corp Adv Deposit                 ($1,458.73) $25,012.29                  ($1,458.73)
   100 12/27/2022         601 Corp Adv Disb                     $1,458.73 $26,471.02                    $1,458.73
   101    1/1/2023            Balance Adjustment              ($25,421.02) $1,050.00                  ($25,421.02)
   102    1/5/2023        633 Corp Adv Disb                     $5,000.00   $6,050.00                   $5,000.00
   103    1/5/2023        633 Corp Adv Disb                    $15,000.00 $21,050.00                   $15,000.00
   104    1/5/2023        633 Corp Adv Disb                       $718.83 $21,768.83                      $718.83
   105 1/25/2023          601 Corp Adv Disb                     $1,091.72 $22,860.55                    $1,091.72
   106 1/25/2023          601 Corp Adv Disb                       $168.07 $23,028.62                      $168.07
   107 1/25/2023          766 Corp Adv Deposit                 ($1,091.72) $21,936.90                  ($1,091.72)
   108 1/25/2023          766 Corp Adv Deposit                   ($168.07) $21,768.83                    ($168.07)
   109    2/2/2023        633 Corp Adv Disb                       $215.60 $21,984.43                      $215.60
   110 2/27/2023          766 Corp Adv Deposit                 ($5,000.00) $16,984.43                  ($5,000.00)
   111 2/27/2023          766 Corp Adv Deposit                ($15,000.00) $1,984.43                  ($15,000.00)
   112 2/27/2023          766 Corp Adv Deposit                   ($718.83) $1,265.60                     ($718.83)
   113 2/27/2023          766 Corp Adv Deposit                   ($215.60) $1,050.00                     ($215.60)
  114                         TOTALS                                                    $1,050.00          $0.00




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